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Attorneys for Plaintiff Idaho Republican Party

IN THE UNITED STATES DISTRICT COURT

DISTRICT OF IDAHO

IDAHO REPUBLICAN PARTY, et.al.,

Pint .ater.
PImainu,
vs.

BEN YSURSA, In his Official Capacity as
Secretary of State of the State of Idaho,

Defendant.

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AFFIDAVIT OF
HENRY KULCZYK

Henry Kulezyk, being first duly sworn, deposes on oath and states:

1. lam not a party to this lawsuit. Each of the matters stated herein are known to me of my

personal knowledge and if sworn as a witness, | could testify competently thereto.

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2. In 2002, | was elected to the Idaho State Legislature in District 14 House Seat B. In
2004, | ran in the District 14 Republican Primary as the incumbent against Stan Bastian
for House Seat B and lost the race to him.

3. Based on substantial evidence, | believe that Stan Bastian was a Democrat running in
my primary race as a Republican. The evidence for this conclusion includes the following
facts: Stan Bastian received $2,000 from IEA-PACE in the 2004 election, and $400 from
an IEA front group, “Friends of Public Education.” He received another $2,000 from IEA-
PACE in 2006; he took positions on the issues contrary to the Republican Party platform
and espoused by the Democrat Party; he repeatedly voted in the Idaho legislature
contrary to the Republican Party platform and consistent with the policy positions of the
IEA. Attached hereto, marked Exhibit A, is a true and accurate copy of a political mailer |
authored for my primary campaign against Stan Bastian. In that mailing, | accurately
pointed out Stan Bastian’s Democrat policy positions, financial connections with
Democrats and Bastian’s donations to the Democrat Party and causes, and opposition
to the Ten Commandments monument.

A Itis my
» His my

belief that Stan Bastian was running ina
concerted effort by the Democratic party and the IEA to remove me as a conservative
incumbent. In the 2003 and 2004 legislative sessions, | served as a member of the
House Education Committee and consistently opposed the IEA agenda. | sponsored
legislation for tuition tax credits and was the primary school choice advocate. As a result,
| was considered an enemy and strategic target of the IEA.

5. There were two races in my district in 2004 in which conservative core value Republican
candidates faced non-conservative contenders. In my race against Bastian, there were a
total of 4,094 votes cast. This was 105 more votes than were cast in the Republican

presidential primary in the district, and in the presidential primary, 612 ballots were voted

for “None of the above.” The total votes cast in my election was also 343 more votes

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than Senator Mike Crapo received. (He was unopposed.) This documented ‘bullet
balloting’ is strong evidence that there were between 343 and 612 non-Republican
cross-over votes cast in my primary race.

6. | only lost the primary race to Stan Bastian by 134 votes. Based on these facts, | can
safely conclude that cross-over voting by non-Republicans was the decisive factor in my
defeat in that primary race.

7. We suspected and believed that we would see cross-over voting by non-Republicans as
soon as we found out Stan’s background and history of both supporting Democratic
candidates and viewpoints.

8. Stan Bastian supported the removal of the Ten Commandments by Democratic Mayor
Dave Bieter, and has a record of financially supporting Democratic candidates in past
elections.

9. You can not fight an organized, concerted effort to remove you in a primary by an
opponent that you shouldn't be facing until a general election.

10. In what was already a tough election primary for voter turnout, we had to focus on

11. We had to send out literature mentioning Stan’s Democratic behavior and support base.
We specifically had to address the issue of his past positions and contributions.

12. A candidate that would not be taken seriously by registered party voters in a closed
primary system becomes a legitimate challenge when that process is open to non-party
voters.

13. This fact caused us to have to shift the focus of our efforts to bringing these credibility
issues to light, as evidenced by our materials.

14. We brought Stan Bastian’s history up in our campaign literature, and we specifically had

to spend extra dollars in printing and mailing these pieces that we otherwise would not

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have had to expend. We would have been able to focus that energy and funding

elsewhere.
15. | lost a Republican Primary to a Democrat by votes of Democrat voters. If it wasn't for

that, I'd would have still had the House seat when it was all done. That is a travesty.

FURTHER, AFFIANT SAYETH NOT. ,
Lj —
mie » UTS

) ss.

County of Ada )
Oream

Subscribed and swom to before me, a Notary Public in and for the State oftdahgon this

12 day of January, 2010.
[' ddd td-Mpohe—

Notary Public HE
My commission expires:
Residing At:

A Giedridlh n& Plame Wiednemele a
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CERTIFICATE OF SERVICE

| HEREBY CERTIFY that on this 13" day of January, 2010, | served a copy of

the foregoing Affidavit of Henry Kulczyk by email transmission, addressed to the
following persons:

Gary Allen

Givens Pursley

P.O. Box 2720

Boise, Idaho 83701-2720
garyallen@givenspursley.com

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3305 N. Ballantyne « Eagle, ID 83616 » (208) 939-8888
www.hkulezyk.com ¢ henry@hkulczyk.com

Dear Neighbors:

It is now the middle of the Republican primary in
Dist. 14. Signs are showing up everywhere and we are
beginning to receive mail and hear about the different
candidates. The difficult part is to be able to read through
the rhetoric. It seems everyone wants to be known as a
conservative Republican who wants lower taxes and
supports limited government. The reason is simple, that
is what you need to “say” if you want to get elected in
Dist. 14, and in fact most of Idaho.

Why then is it with all these “conservative”
Republicans in office have we doubled the General Fund
budget in a little over 10 years? Why during the recession,
where the private sector had been laying off thousands
of employees, did the State of Idaho’s budget increase

$367 million? Why is Idaho the 11th highest taxed
state in the nation for state and local taxes? (Wall
St. Journal, 4/8/04) Why in the most Republican state in
the nation, with President Bush asking states to strengthen
their constitutions and further protect marriage, we could
not even get a hearing on that legislation in the
Republican-controlled Senate?

The answer is simple. Our legislature is fuil of those
who pose as Republicans during the election, then vote
their left-liberal views. Dr. Jim Weatherby, political
professor at BSU, stated: “It’s true at both the state and
the local level that people interested in being elected to
office run as Republicans, even though they might have
more Democratic leanings.” (Magic Valley Times, 4/25/
04)

Henry’s opponent, Stan Bastian, is one of those
people. He says he will sign the Taxpayer Protection
Pledge and won’t raise taxes. Then, Stan says had he
been in the legislature he would have voted for the largest
tax increase in Idaho history. Which is it?

Stan says he is a conservative Republican, but Stan’s
letterhead election committee consists of people who
have donated tens of thousands of dollars to left-liberal

Democrats like Mike Burkett, Bob Huntley, Jerry Brady,
Marilyn Howard, Jim Corey, Eileen Thornburg and Wally
Hedrick.

Further, they have donated more money to the Ada
Democrat Party, the Jefferson-Jackson Banquet, Freedom
Means Choice, Gracies List, Idaho’s pro-homosexual
PAC, Idaho Democrat Central Committee, Idaho State
Democrats and the Mini-Cassia Democrats ... etc.

Joining with them are the Ada County Highway
District Commissioners. Do we want state government
to be run like the Ada County

Highway District? Egad! “It’s true at both
It is no wonder left- the state and the
liberal Democrat local level that
Mayor Dave Bieter is peop: ! ¢ interested in
. . being elected to
endorsing Bastian!
office run as
They both believe the | Republicans, event
Ten Commandments have no though they might
place _on public property. have more
Also, Charles Howarth, a Democratic
member of the Freedom . ”
leanings.

From Religion Foundation,
is a member of Stan’s
committee.

Dr. Jim Wetherby, BSU,
Political Science

Gov. Dirk Kempthorne, Senators Craig and Crapo,
Congressmen Otter and Simpson ali agree with me that
protecting our American Heritage means the Ten
Commandments and other references to God have a
rightful place in the public square. Again, Stan

supported the removal of the Ten Commandments

monument by the Democrat Mayor Dave Beiter.
(Statesman, 3/31/04)

Henry’s supporters
In contrast let’s look at the all-star Republican line-
up supporting Henry Kulezyk. Cong. Helen Chenoweth
says “Henry knows the issues, works hard and his

Exhibit A
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integrity is beyond question.” Cong. Butch Otter says,
“Henry is a straight shooter.”

Rep. Mike Moyle states, “Henry does a great job
representing the people of Dist. 14.” Representatives
Bill Sali, Lenore Barrett, Frank Bruneel, Pete Nielsen,
and Jim Clark, plus, the vice-chairman of the House
Education Committee, Rep. Dennis Lake, are endorsing
my campaign. I serve on the Education Committee.

Current and former senators like Stan Hawkins, Gerry
Sweet, Ric Branch, Skip Brandt, and Jack Noble all true-
tested conservative Republicans support Henry Kulczyk.

Local business leaders like Bob DeShazo (Eagle
Water), Frank Skinner (SOS Well Drilling), Jay Green
(DVM), Gilbert Simpson (DDS), Gale Pooley, Jim Auld,
Myron Sharpe, Bob Forrey, Robert Hoover, Brandi
Swindell (Ten Commandments Coalition), Pastor Bryan
Fischer and Robbie Robinson know Henry is a small
businessman who understands the burdens placed on
business by government. Conservative groups like the
NRA, Idahoans for Tax Reform and Idaho Chooses Life
support Henry.

Often, I am a lone vote standing for limited
government, protecting property rights, and against
government bloat. But those tough votes are all worth it
when I get a call from a constituent saying, “Henry, I
may not always agree with you on every issue, however,
I do appreciate the fact that you consistently stand for
those principles. That is why I will continue to vote for

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~ COUPON ~

The Proper Role of Government
by Ezra Taft Benson

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This booklet illuminates the timeless ideas and the individuals who, through
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Benson’s insightful essay. -- Rep. Henry Kulezyk

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HR ER YD TREY] RY YE YS

Do you believe the problem is_that government
does not have enough money to spend, or do you think
the problem is government spends too much?

Itis asad commentary that too many citizens of Dist.
14 do not expect the “temporary” 20% sales tax increase
to actually be temporary.

Again, in the past five years, through an economic
recession, Idaho has increased spending by $367 million.
Think about that for a moment. We are on a dangerous
course and I need your help to begin slowing things down
before we have another financial wreck.

On May 25th you have a clear choice. Look at those
who hope to elect Stan and you’ll know their agenda.
Actually, Stan should be running as a Democrat.
Compare them with my supporters and you'll know the
principles for which I stand. I ask for your vote on
May 25th, for a true Republican.

May God bless y iif 7 your family,
En

State Representative
Dist. 14

P.S. [have found a great primer on what government
should do. The Proper e of Governm

The Proper Role of Government by
Ezra Taft Benson. I would like to share this essay with
you. Return the coupon below and I will send you a free
copy. Thank you for your support and prayers.

It is

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